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                      UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF WASHINGTON
                               AT SEATTLE

 UNITED STATES OF AMERICA,
                                               No. CR 05-334 L
                            Plaintiff,
                                               ORDER CONTINUING MOTION
                      v.                       CUTOFF DATE AND TRIAL

 RAJINDER SINGH JOHAL,
 MANINDER SINGH KHATKAR, and
 DINDYAL SINGH JASWAL,

                           Defendants.

       THIS MATTER coming on for hearing upon motion of the Defendant by and through

his attorney Allen M. Ressler who moved this Court for an Order extending the motions cutoff

date of February 25, 2006 and the trial date of May 8, 2006, a minimum of thirty days and the

Court having reviewed the records and files herein, therefore,

       The Defendant and the co-defendants have moved for a continuance of the trial

date. As grounds therefore, the firm of Ressler & Tesh, PLLC, are newly retained counsel

for defendant Dindyal Singh Jaswal and require time to become familiar with the case and


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its proceedings and get up to speed. It has also been indicated that Assistant U.S. Attorney

Sarah Vogel does not object to this continuance.

           It therefore appearing to the Court that it would be unreasonable to expect adequate

preparation for the trial and on-going plea negotiations without a continuance, even with

diligent and good faith efforts by counsel to prepare for trial, and it further appearing that the

ends of justice served by granting the requested continuance outweigh the interest of the public

and the defendant in a speedy trial,

           IT IS FURTHER ORDERED that the period of delay from May 8, 2006 through July

24, 2006 is excludable time pursuant to 18 U.S.C. ' 3161(h)(8)(A), for the purpose of

computing the time limitations imposed by the Speedy Trial Act, 18 U.S.C. ' 3161-3174.

           IT IS HEREBY ORDERED, ADJUDGED and DECREED that the trial date in this

matter be and hereby is continued from May 8, 2006 to the 24th day of July, 2006 and the

motions cutoff from February 25, 2006 to the 12th day of May, 2006.

           DATED this 21st day of March, 2006.



                                                                A
                                                                Robert S. Lasnik
                                                                United States District Judge


Presented by:

/S/ Allen M. Ressler
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Allen M. Ressler, WSBA #5330
Attorney for Dindyal Singh Jaswal




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